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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                    8:13CR286

       vs.
                                                                     ORDER
VICENTE DE LAO-OLVERA, a/k/a Gordo,
JOSE PABLO BOJORQUEZ-QUEVEDO,
a/k/a Nitro,

                      Defendants.


       This matter comes on before the Court upon the United States= Motion to Vacate

Preliminary Order of Forfeiture and Dismiss Forfeiture Allegation (Filing No. 96). The Court

reviews the record in this case and, being duly advised in the premises, finds the United States=

Motion should be sustained.

       IT IS THEREFORE ORDERED as follows:

       1. The United States= Motion is hereby sustained.

       2. The Preliminary Order of Forfeiture (Filing No. 86) is vacated and the Forfeiture

Allegation of the Superseding Indictment (Filing No. 44) is hereby dismissed.

       DATED this 2nd day of July, 2014.

                                                    BY THE COURT:



                                                    s/ Joseph F. Bataillon
                                                    United States District Court Judge
